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 1   JAMES R. GREINER, ESQ.
 2   CALIFORNIA STATE BAR NUMBER 123357
     LAW OFFICES OF JAMES R. GREINER
 3
     1024 IRON POINT ROAD
 4   FOLSOM, CALIFORNIA 95630
     TELEPHONE: (916) 357-6701
 5
     FAX: (916) 920-7951
 6   E mail: jaygreiner@midtown.net
 7
     ATTORNEY FOR DEFENDANT
 8   MATTHEW BOYLE
 9

10              IN THE UNITED STATES DISTRICT COURT FOR THE
11

12                        EASTERN DISTRICT OF CALIFORNIA
13

14
     UNITED STATES OF AMERICA, )               CR-S-13-332--GEB
15                             )
16
         PLAINTIFF,            )             AGREEMENT AND STIPULATION
                               )             BETWEEN THE PARTIES
17                v.           )             REGARDING CONTINUING THE
18                             )             STATUS CONFERENCE AND
     MATTHEW BOYLE, et al.,    )             EXCLUDING TIME UNDER THE
19
                               )             SPEEDY TRIAL ACT AND
20                             )             [PROPOSED] FINDINGS AND
                               )             ORDER
21
                  DEFENDANTS. )
22   __________________________)
23

24           Plaintiff       United     States      of    America,      by    and
25   through its counsel of record, and defendant Tina Marie
26   Bini by and through her counsel of record, Mr. Dan
27   Koukol, and Matthew Boyle by and through his counsel of
28



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 1
     record,       Mr.    James     R.    Greiner,      hereby      agree     and
 2
     stipulate as follows1:
 3

 4
                         1- By previous order (See Docket numbers
 5                       35 and 36) this matter was set for status
                         on Friday, August 29, 20142;
 6

 7                       2- By this agreement and stipulation, both
 8
                         defendants now move to continue the status
                         conference presently set for Friday,
 9                       August 29, 2014, to Friday, October 3,
10                       2014and to exclude time between Friday,
                         August 29, 2014 and to and including
11
                         Friday, October 3, 2014, for reasonable
12                       and necessary attorney preparation
                         exercising due diligence under Local Code
13
                         T4.
14

15
                         3- The United States does not oppose this
                         request.
16

17                       4. The parties agree and stipulate and
                         request that the Court find the following:
18

19                           a) The United States has represented
                         that the discovery associated with this
20
                         case includes investigative reports and
21                       wiretap applications in electronic form
22
                         constituting approximately 4,000 pages of
                         documents. The United States also
23                       represents that the discovery includes
24                       approximately 20 CD’s of audio recordings,
25        1
             The government has requested the use of this format for Continuances
26   and Exclusions of time under the Speedy Trial Act
           2
             The government filed in Docket number 37, that time be excluded under
27   the Speedy Trial Act as to defendant Matthew Boyle from July 25, 2014 to and
     including August 29, 2014 (See Docket number 37) and the defendant Matthew
28   Boyle agrees that time should be excluded pursuant to the government’s filing
     in Docket number 37



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 1                      including intercepted communications, and
 2                      transcripts and line reports. All of this
                        discovery has been produced directly to
 3
                        counsel3;
 4
                            b) On or around June 20, 2014, the
 5
                        United States provided a plea offer to
 6                      counsel for Tini Bini, and a written plea
 7
                        offer has been extended to defendant
                        Matthew Boyle;
 8

 9                          c) Counsel for each defendant desires
                        additional time to consult with his
10
                        client, to conduct investigation and
11                      research related to the charges in the
                        Indictment, to review discovery for this
12
                        matter, to discuss potential resolutions
13                      with their respective clients, to review
14
                        the Advisory Sentencing Guidelines and
                        review the Advisory Sentencing Guidelines
15                      with their respective clients and to
16                      prepare for resolution of this matter
                        either by way of plea or trial;
17

18                          d) Defendant Matthew Boyle has just
                        had this Court appoint new counsel as of
19
                        August 18, 2014 (See Docket number 39) and
20                      new counsel needs additional time for all
21
                        of the reasons stated herein in order to
                        adequately represent defendant Matthew
22                      Boyle under the Constitution4
23

24

25         3
             The United States directly produced discovery to Matthew Boyle’s prior
26   attorney, Mr. Carl Larson, and Mr. Carl Larson has forwarded the discovery to
     his present counsel. No discovery has been forwarded directly from the United
27   States to Matthew Boyle’s present counsel.
           4
             Counsel for co-defendant Bini has been counsel of record for
28   approximately 8 months and over 3 weeks, whereas new counsel for defendant
     Matthew Boyle has been counsel for a week.



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 1                        e) Counsel for both defendants
 2                    represent to this Court that failure to
                      grant the above-requested continuance
 3
                      would deny counsel for both defendants the
 4                    reasonable time necessary for effective
                      preparation, taking into account the
 5
                      exercise of due diligence;
 6

 7
                          f) The United States does not object
                      to the continuance;
 8

 9                        g) Based on the above stated finding,
                      the ends of justice served by continuing
10
                      the case as requested outweigh the
11                    interest of the public and the defendant
                      in a trial within the original date
12
                      prescribed by the Speedy Trial Act.
13

14
                          h) For the purpose of computing time
                      under the Speedy Trial Act Title 18 U.S.C.
15                    section 3161, et seq., within which trial
16                    must commence, the time period of August
                      29, 2014 to and including October 3, 2014,
17
                      inclusive, is deemed excludable pursuant
18                    to Title 18 U.S.C. section 3161(h)(7)(A),
                      B(iv) [Local Code T-4] because it results
19
                      from a continuance granted by the Court at
20                    the defendant’ request on the basis of the
21
                      Court’s finding that the ends of justice
                      served by taking such action outweigh the
22                    best interest of the public and the
23                    defendants in a speedy trial.
24
                      4. Nothing in this stipulation and order
25                    shall preclude a finding that other
                      provisions of the Speedy Trial Act dictate
26
                      that additional time periods are
27                    excludable from the period within which a
28
                      trial must commence.


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 1       The parties have given authority to James R.
 2   Greiner to sign on their behalf.
 3
          IT IS SO AGREED TO AND SO STIPULATED TO;
 4

 5
     DATED: 8-25-14          BENJAMIN B. WAGNER
 6                           United States Attorney
 7

 8                           /s/ TODD A. PICKLES
 9                           _______________________
                             TODD A. PICKLES
10
                             Assistant United States Attorney
11
     DATED; 8-25-14          DAN KOUKOL, Esq.
12

13

14
                             /s/ DAN KOUKOL
                             _________________________
15                           DANIEL KOUKOL, ESQ.
16                           Attorney for Defendant
                             Tina Bini
17

18
     DATED: 8-25-14          /s/ James R. Greiner
19

20                           _______________________________
21
                             James R. Greiner
                             Attorney for Defendant
22                           Matthew Boyle
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 1                    IT IS SO FOUND AND ORDERED.
 2
     Dated:     August 26, 2014
 3

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